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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



CHRISTOPHER GREEN,                                  )      CASE NO. 1:20-cv-1886
13 Columbia Road                                    )
Valley City, Ohio 44280                             )      JUDGE:
                                                    )
             Plaintiff,                             )      COMPLAINT
                                                    )
       v.                                           )
                                                    )
NBN POWDER PACKAGING, LLC                           )
c/o Lance R. Neuschaefer                            )
376 Carol Lane                                      )
Elyria, Ohio 44035                                  )
                                                    )
             Defendant.                             )

       Plaintiffs Christopher Green, by and through undersigned counsel, brings this Complaint

against Defendant NBN Powder Packaging, LLC, and in support of his claims, states as follows:

                                       INTRODUCTION

1. Plaintiff Christopher Green is a resident of the Valley City, county of Medina, and state of

   Ohio.

2. Defendant NBN Powder Packaging, LLC (“NBN”) is an Ohio corporation with its principal

   place of business in the city of Elyria, county of Lorain, state of Ohio.

3. NBN is, and at all times material herein was, engaged in related activities performed through

   unified operation of common control for a common business purpose, and, at all times

   hereinafter mentioned, was an enterprise within the meaning of 29 U.S.C. § 203(r).

4. NBN is, and at all times material herein was, an enterprise engaged in commerce or in the

   production of goods for commerce.
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5. NBN has, and at all times material herein had, employees engaged in commerce or in the

   production of goods for commerce, or had employees handling, selling, or otherwise working

   on goods or materials that have been moved in or produced for commerce.

6. NBN is, and at all times material herein was, an enterprise whose annual gross volume of

   sales made or business done is not less than $500,000.

7. NBN is, and at all times material herein was, an enterprise whose annual gross volume of

   sales made or business done is not less than $150,000.

8. NBN is, and at all times material herein was, subject to the provisions of 29 U.S.C. § 207 and

   Ohio Rev. Code § 4111.03, which require employers to compensate employees a minimum

   wage, and compensate employees who work in excess of forty hours in one workweek at a

   rate of one and one-half times the employees’ normal wage rate.

9. At all times material herein, Green was an individually covered employee pursuant to 29

   U.S.C. § 207(a)(1), in that he was engaged in commerce.

10. At all times material herein, NBN was Green’s employer pursuant to Ohio Rev. Code § 4111

   et seq.

11. At all times material herein, NBN was Green’s employers pursuant to 29 U.S.C. § 203(d).

12. Jurisdiction is proper over NBN pursuant to 28 U.S.C. § 1331 in that Green is alleging

   federal law claims arising under Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

13. The Court’s jurisdiction is also predicated upon 28 U.S.C. § 1367 as this Complaint raises

   claims pursuant to the laws of Ohio, including the Ohio Minimum Fair Wage Standards Act

   (“OMFWSA”), over which this Court maintains supplemental jurisdiction.




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14. Venue is properly placed in the United States District Court for the Northern District of Ohio,

   Eastern Division, because it is the district court for the district, division, and county within

   which NBN operates and conducts business.

                                 FACTUAL ALLEGATIONS

15. NBN employed Green as a Foreman from February 2017 until it unlawfully terminated

   Green’s employment on March 27, 2020.

16. While Green held the title of Foreman, Green’s actual job duties were akin to that of a

   general laborer, including operating a tow motor and performing manual labor on behalf of

   NBN.

17. Upon the commencement of Green’s employment with NBN, Green was misclassified as an

   independent contractor and issued Green 1099 information returns under Title 26, section

   6724(d)(1)(A) of the Internal Revenue Service (“IRS”) Code.

18. NBN has a pattern and practice of willfully misclassifying employees as independent

   contractors in an effort to deny employees, including Green, health and workers’

   compensation insurance, vacation, holiday and sick pay, contributions to retirement plans,

   and eligibility for unemployment benefits.

19. By misclassifying Green and others as independent contractors, NBN has failed to pay

   legally required taxes to both the United States and the state of Ohio.

20. Green was misclassified as an independent contractor under the FLSA.

21. Green was, as a matter of economic reality, dependent on NBN.

22. Green was paid on a fixed basis throughout his employment at NBN and had no opportunity

   for profit or loss depending on his work skills.

23. Green’s various duties as Foreman were an integral part of NBN’s business.




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24. Green provided no equipment or facility space of his own and was entirely reliant on NBN to

   provide any equipment or facility space.

25. NBN exercised significant control over Green throughout his employment, including over

   Green’s work schedule, manner of duties performed, and work performance.

26. NBN was aware that it was misclassifying Green as an independent contractor and insisted

   that at some point in the future, it would properly classify Green as an employee and pay him

   through a W2.

27. From the start of his employment with NBN until approximately May 2018, Green was paid

   on a fixed basis of $375 per week.

28. From approximately August 2017 until May 2018, due to the amount of hours Green was

   consistently working, Green was paid less than the minimum wage as required by the

   OMFWSA.

29. Throughout his employment with NBN, Green was non-exempt for the purposes of Ohio

   Rev. Code § 4111, et seq. and 29 U.S.C. § 200 et seq.

30. From approximately August 2017 until August 2019, Green consistently worked in excess of

   forty (40) hours in a workweek.

31. Throughout his employment, NBN failed to pay Green any overtime wages.

     COUNT I – FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF OHIO
                    MINIMUM WAGE STANDARDS ACT

32. From August 2017 to May 2018, NBN did not pay Green at least minimum wages.

33. By not paying Green proper minimum wages for time worked, NBN has violated the

    OMFWSA.

34. As a result of NBN’s violations, Green is entitled to damages, including, but not limited to,

    unpaid minimum wages, costs, and attorney’s fees.



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 COUNT II – FAILURE TO PAY OVERTIME IN VIOLATION OF THE FAIR LABOR
                           STANDARDS ACT

35. NBN is an “enterprise” as defined by the FLSA, 29 U.S.C. § 203(r)(1), and is engaged in

   commerce within the meaning of the FLSA, 29 U.S.C. § 203(b), (s)(1).

36. The FLSA, 29 U.S.C. § 207, requires covered employers like NBN to pay non-exempt

   employees like Green no less than one and one-half (1.5) times his regular rate of pay for all

   hours worked in excess of forty (40) in a workweek.

37. From August 2017 until August 2019, Green regularly worked more than forty (40) hours per

   week for NBN, but NBN did not properly compensate him for all of his overtime hours as

   required by the FLSA.

38. NBN has not made a good-faith effort to comply with the FLSA as it relates to the

   compensation of Green.

39. NBN knew Green worked overtime without proper compensation, and it willfully failed and

   refused to pay Green wages at the required overtime rate pursuant to 29 U.S.C. § 255.

40. NBN’s willful failure and refusal to pay Green overtime wages for time worked violates the

   FLSA, 29 U.S.C. § 207.

41. As the direct and proximate result of NBN’s unlawful conduct, Green has suffered and will

   continue to suffer a loss of income and other damages.

42. Green is entitled to liquidated damages and attorney’s fees and costs incurred in connection

   with this claim.

 COUNT III – FAILURE TO PAY OVERTIME IN VIOLATION OF OHIO MINIMUM
                         WAGE STANDARDS ACT

43. Green worked more than forty (40) hours in one or more workweeks.




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44. From August 2017 to August 2019, NBN did not pay Green at least one and a half times his

    normal hourly rate for time worked in excess of forty (40) per workweek.

45. By not paying Green proper overtime wages for time worked in excess of forty (40) per

    workweek, NBN has violated the OMFWSA.

46. As a result of NBN’s violations, Green is entitled to damages, including, but not limited to,

    unpaid overtime wages, costs, and attorney’s fees.

       WHEREFORE, Plaintiff Christopher Green prays for all the following relief:

              A. Unpaid overtime wage pay, and an additional and equal amount as liquidated
                 damages pursuant to the FLSA and OMFWSA and supporting regulations;

              B. A declaratory judgment that the practices complained of herein are unlawful
                 under the FLSA, and the OMFWSA

              C. An award of unpaid minimum wages under the OMFWSA;

              D. Liquidated damages under Ohio Rev. Code § 4113.15;

              E. An award of any pre-judgment and post-judgment interest.

              F. An award of costs and expenses of this action, together with reasonable
                 attorney’s fees and expert fees; and

              G. Such other legal and equitable relief as the Court deems appropriate.


                                                   Respectfully Submitted,


                                                   /s/ Sean H. Sobel
                                                   Sean H. Sobel (0086905)
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                                     JURY DEMAND

        Plaintiff hereby demands a jury trial by the maximum persons permitted by law on all

issues herein triable to a jury.


                                                  /s/ Sean H. Sobel
                                                  Sean H. Sobel (0086905)




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